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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,          )
                                       )
            Plaintiffs,                )
                                       )
vs.                                    )
                                           No. 1:18-mc-00613-LY
                                       )
GRANDE COMMUNICATIONS                  )
NETWORKS LLC,                          )
                                       )
            Defendant.
                                       )

         DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
               REPLY IN SUPPORT OF MOTION TO COMPEL
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                                        INTRODUCTION

       The Court should reject the RIAA’s attempts to avoid producing documents that are

indisputably relevant to this case, based on vague and unsupported claims of privilege and work

product protection.

       The RIAA makes broad-sweeping claims of privilege and work product protection over a

collection of unidentified documents related to Rightscorp, which it labels its “litigation

consultant.” However, the RIAA refuses to provide the very agreement that allegedly establishes

this relationship. Without the agreement, there is no way to determine the metes and bounds of

the RIAA-Rightscorp relationship, to which particular types of communications and documents

some protection could attach, and, ultimately, whether the alleged agreement is of any

consequence whatsoever. The conclusory declaration offered by the RIAA provides none of this

information, and indeed is conspicuously silent about the terms of the agreement and the nature

of any work Rightscorp has actually done for the RIAA.

       Moreover, the RIAA’s objections raise serious sword and shield concerns. Plaintiffs and

the RIAA are relying on Rightscorp’s work product to support their claims in this case, while at

the same time refusing to produce Rightscorp materials, and communications with Rightscorp,

that may undermine those claims. The Court should not permit this sort of gamesmanship.

       Finally, it is unclear whether the RIAA has retracted its refusal to produce Rightscorp-

related documents that do not explicitly reference Grande or Patriot. In any event, the RIAA

does not substantively respond on this point, thereby conceding the issue.

       The Court should therefore grant Grande’s Motion to Compel and enter an order

compelling the RIAA to produce the documents at issue.




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I.     THE RIAA’S OBJECTIONS BASED ON PRIVILEGE AND WORK PRODUCT
       SHOULD BE OVERRULED

                   Request Nos. 3, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 17, and 18

       A.      The RIAA Fails to Meet its Burden to Substantiate Its Privilege Claims.

       To support its claims of privilege and work product protection over communications with

Rightscorp, the RIAA claims that it executed a “Litigation Support and Consulting Agreement”

with Rightscorp related to potential litigation against Grande. The RIAA refuses to produce this

document.1 The RIAA’s reliance on a witness declaration instead of the actual agreement

strongly suggests that the terms of the agreement do not support the RIAA’s position.

       Indeed, it is telling that the declaration at issue—from RIAA attorney Victoria

Scheckler—provides no information whatsoever about the terms of the referenced agreement.

ECF No. 8-1, ¶ 4. Ms. Scheckler does not claim that the agreement expressly extended attorney-

client privilege or work product protection over communications between or among the RIAA,

Rightscorp, and Plaintiffs, or that it was intended to do so. See id. Ms. Scheckler does not claim

that the agreement has any provisions regarding the confidentiality of communications between

or among these parties. See id. Ms. Scheckler does not claim that the agreement purports to



1 The RIAA lacks any basis for attempting to blame Grande for its failure to produce the
agreement. See ECF No. 8 at 3 n.3. As a condition of producing the agreement, the RIAA
demanded that Grande “agree not to assert waiver of privilege/work product as a result of RIAA
producing that agreement.” See ECF No. 8-3 at 2. Grande agreed, noting that such an
agreement is unnecessary in view of the Protective Order. ECF No. 41 at 12-13 (“This
Protective Order encompasses an Order under Federal Rule of Evidence 502(d) that any
privilege or other protection that may have been raised in documents produced in this case is not
waived as a result of disclosure of those documents in connection with this litigation . . . .”).
However, Grande noted—obviously not knowing what information may be reflected in the
agreement—that it reserved the right to argue that any protection might subsequently be waived
if the RIAA or Plaintiffs were to affirmatively rely on the substance of any work product
disclosed in the agreement, in a manner that would implicate a waiver of privilege based on the
fairness considerations of Federal Rule of Evidence 502. The RIAA has since refused to produce
the agreement.


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govern the confidentiality of communications between the parties that preceded the execution of

the agreement. See id. And finally, Ms. Scheckler provides no information indicating that

Rightscorp has ever actually provided litigation support services to the RIAA or Plaintiffs—as

opposed to simply selling the RIAA a collection of data Rightscorp previously obtained without

the RIAA’s knowledge or direction. See id.

       Without this information, the RIAA has not even shown that the agreement is relevant to

the privilege and work product claims before the Court. The RIAA certainly has not met its

burden to demonstrate attorney-client privilege or work product protection over each and every

communication among the RIAA, Rightscorp, and Plaintiffs regarding Rightscorp’s monitoring

of Grande’s network, including communications that preceded the execution of the alleged

agreement. Ms. Scheckler’s declaration is precisely the sort of information held in BDO to be

insufficient to meet this burden, as it consists entirely of broad, conclusory assertions that all

relevant communications were confidential and related to legal services or advice. See EEOC v.

BDO USA, L.L.P., 876 F.3d 690, 695-97 (5th Cir. 2018); Scheckler Decl., ¶ 5 (ECF No. 8-1).

       The Innovative Sonic case cited by the RIAA, concerning work product protection over

the work of litigation consultants, further demonstrates these deficiencies. There, the consultant

“conducted the testing at the request of Plaintiff’s outside counsel in anticipation of litigation”

and was not expected to testify at trial. Innovative Sonic Ltd. v. Research in Motion, Ltd., No.

3:11-cv-706, 2013 WL 775349, at *2 (N.D. Tex. March 1, 2013). The opposite is true here:

Rightscorp sent notices of alleged infringement to Grande before it ever approached the RIAA

about potential litigation against Grande. The RIAA has not provided evidence that any of the

requested materials constitute work product generated at the direction of the RIAA’s counsel.

See generally Scheckler Decl. (ECF No. 8-1). Moreover, unlike in Innovative Sonic, Plaintiffs




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intend to call Christopher Sabec and Gregory Boswell of Rightscorp to testify at trial as fact

witnesses. ECF No. 126 at 2.

       As for attorney-client privilege, the cited Ferko case likewise undermines the RIAA’s

position. In Ferko, the court recognized that in some circumstances the privilege may extend to

an attorney’s agents, but that “[t]his exception only applies when communications are made for

the purpose of obtaining legal advice from the lawyer.” Ferko v. NASCAR, Inc., 218 F.R.D. 125,

135 (E.D. Tex. 2003) (emphasis in original) (citation omitted). Thus, the party claiming such a

privilege “must prove that the [services provided by the agent] enabled the giving of legal

advice.” Id. There is no such proof here, only conclusory assertions from Ms. Scheckler. ECF

No. 8-1 at ¶ 5 (“These communications were for the purpose of facilitating the provision of legal

services and/or legal advice to Plaintiffs in connection with this lawsuit.”). Ms. Scheckler also

does not claim that Rightscorp is or at any time was an agent of the RIAA. See id. Ms.

Scheckler’s conclusory assertions are plainly insufficient to establish privilege over every

communication concerning Grande between or among the RIAA, Rightscorp, and Plaintiffs.

       Finally, the RIAA’s broad claims of privilege and work product protection are

inappropriate and prejudicial because it is attempting to use these protections as both sword and

shield. It is manifestly unfair for the RIAA and Plaintiffs to rely on materials obtained from third

party Rightscorp, as well as the fact testimony of Rightscorp witnesses, to support their claims,

while withholding communications with Rightscorp about those very materials based on claims

of privilege and work product protection. This strategy frustrates Grande’s ability to obtain

indisputably relevant discovery regarding the accuracy and reliability of this evidence. The

Court should not permit such tactics. See, e.g., Chevron Corp. v. 3TM Consulting, LLC, No.

4:10-mc-134, 2011 WL 13135155, at *3 (S.D. Tex. Jan. 10, 2011) (ordering production of




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claimed work product of consultant where the plaintiffs “were not safeguarding the fruits of [the

consultant’s] work that they found beneficial to their lawsuit,” while withholding other

information on that subject matter).

II.    THE RIAA’S OBJECTIONS LIMITING PRODUCTION OF RIGHTSCORP-
       RELATED DOCUMENTS TO THOSE EXPLICITLY REFERENCING GRANDE
       AND PATRIOT SHOULD BE OVERRULED

                            Requests Nos. 6, 7, 8, 9, 10, 11, 12, and 13

       The RIAA’s opposition is internally inconsistent regarding whether the RIAA maintains

its objections to the production of Rightscorp-related materials that do not explicitly refer to

Grande or Patriot. At the outset, the RIAA explains it will produce documents subject to its

original objections (ECF No. 8 at 1), which include these objections. But then the RIAA

represents that the Court need not consider this issue because the “RIAA has agreed to produce

non-privileged, non-work product documents related to Rightscorp, if any such documents are

located after a reasonable and diligent search.” ECF No. 8 at 2.

       Whether this confusion was intentional or inadvertent, the RIAA offers no substantive

response on this issue and does not otherwise attempt to justify its decision to withhold these

documents. Accordingly, the Court should overrule these objections and order the RIAA to

produce the documents at issue.

                                          CONCLUSION

       For the foregoing reasons, Grande respectfully requests that the Court grant Grande’s

Motion to Compel in full and order any other relief the Court deems just and proper.




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Dated: August 7, 2018.


                                                    By: /s/ Richard L. Brophy
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 7, 2018, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                     /s/ Richard L. Brophy




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